                                  Case 8:18-bk-09917                 Doc 1        Filed 11/18/18           Page 1 of 10

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Work & Son, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2600 Gandy Blvd.
                                  Pinellas Park, FL 33702
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Pinellas                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 8:18-bk-09917                Doc 1         Filed 11/18/18              Page 2 of 10
Debtor    Work & Son, Inc.                                                                              Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     See Attachment                                                 Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Work & Son, Inc.                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Work & Son, Inc.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 18, 2018
                                                  MM / DD / YYYY


                             X   /s/ Clifford F. Work                                                     Clifford F. Work
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Mary A. Joyner                                                        Date November 18, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mary A. Joyner
                                 Printed name

                                 Law Offices of Mary A. Joyner, PLLC
                                 Firm name

                                 1503 S. US Hwy. 301
                                 Suite 115
                                 Tampa, FL 33619
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     813-328-2115                  Email address      Mary@AttorneyJoyner.com

                                 115739 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Work & Son, Inc.                                                                 Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                   Chapter     11
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Work & Son - Kraeer Holdings, Inc.                                      Relationship to you               Subsidiary
District   Middle District of Florida                 When                         Case number, if known
Debtor     Work & Son - Memorial Services, Inc.                                    Relationship to you               subsidiary
District   Middle District of Florida                 When                         Case number, if known
Debtor     Work & Son - Osiris, Inc.                                               Relationship to you               Subsidiary
District   Middle District of Florida                 When                         Case number, if known
Debtor     Work & Son - Royal Palm Acquisition, Inc.                               Relationship to you               Subsidiary
District   Middle District of Florida                 When                         Case number, if known
Debtor     Work & Son - Sarasota Memorial, Inc.                                    Relationship to you               Subsidiary
District   Middle District of Florida                 When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 5
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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      Work & Son, Inc.                                                                                          Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Clifford F. Work                                                                                                                100%
 2600 Gandy Blvd.
 Saint Petersburg, FL 33702


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 18, 2018                                                      Signature /s/ Clifford F. Work
                                                                                            Clifford F. Work

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Work & Son, Inc.                                                                           Case No.
                                                                                 Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       November 18, 2018                                        /s/ Clifford F. Work
                                                                      Clifford F. Work/President
                                                                      Signer/Title




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Work & Son, Inc.                        Dowd & Dowd PC                         Service Corporation
2600 Gandy Blvd.                        211 N. Broadway                        International
Pinellas Park, FL 33702                 Saint Louis, MO 63102                  1929 Allen Pkwy
                                                                               Houston, TX 77019



Mary A. Joyner                          Estate of Franklin D.                  SunTrust Bank
Law Offices of Mary A. Joyner, PLLC     & Patsy Work                           PO Box 305053
1503 S. US Hwy. 301                     2600 Gandy Blvd.                       Nashville, TN 37230-5053
Suite 115                               Pinellas Park, FL 33702
Tampa, FL 33619

Associated Industries                   Florida Communications                 The Main Street American
Insurance Company Inc.                  PO Box 4614                            Group
800 Superior Ave E                      Tampa, FL 33677                        PO Box 2004
21st Floor                                                                     Keene, NH 03431
Cleveland, OH 44114

AutoZone Inc.                           Florida Dept. of Revenue               Verizon
PO Box 116067                           5050 W. Tennessee St.                  PO Box 4001
Atlanta, GA 30368-6057                  Tallahassee, FL 32399-0180             Acworth, GA 30101




Batesville Casket Company               Home Depot Credit Services
One Batesville Blvd.                    Dept 32 - 2503677605
Batesville, IN 47006                    PO Box 78047
                                        Phoenix, AZ 85062-8047



BMW Financial Services                  Internal Revenue Service
BMW Bank of North America               Centralize Insolvency
PO Box 78066                            Operations
Phoenix, AZ 85062-8066                  PO Box 7346
                                        Philadelphia, PA 19101-7346

Cat Financial                           Nelson Mullins
2120 W. End Ave.                        PO Box 11070
PO Box 340001                           Columbia, SC 29211
Nashville, TN 37203-0001



Clifford F. Work                        Old Dominion Insurance Co
2600 Gandy Blvd.                        PO Box 16100
Saint Petersburg, FL 33702              Jacksonville, FL 32245-6100




Dearolf & Mereness                      R. Michael DeLoach, P.A.
15425 N. Florida Ave.                   PO Box 2349
Tampa, FL 33613-1243                    Brandon, FL 33511
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                                                   UNITED STATES BANKRUPTCY COURT
                                                      MIDDLE DISTRICT OF FLORIDA
                                                            TAMPA DIVISION

In re:

WORK & SON, INC.,                                                             CASE NO. 8:18-bk-
                                                                              Chapter 11
           Debtor.
                                /

                                      DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

  1.       Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
           that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me,
           for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy
           case is as follows:

           For legal services, I have agreed to accept $20,000.00 as a general retainer for the debtor and its five (5) affiliates to wit:
           Work & Son – Memorial Services, Inc., Work & Son – Osiris, Inc., Work & Son – Kraeer Holdings, Inc., Work & Son – Royal
           Palm Acquisition, Inc., and Work & Son – Sarasota Memorial, Inc.

           Prior to the filing of this statement I have received $20,000.00

           The Balance Due is $0.00

  2.       The source of the compensation paid to me was the Debtor.
  3.       The source of compensation to be paid to me is the Debtor.
  4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

  5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           A.        Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a
                     petition in bankruptcy;
           B.        Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           C.        Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
                     thereof;
           D.        Representation of the debtor in necessary matters related to the bankruptcy case including negotiations with
                     creditors and moving the case forward to confirmation.

  6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                             CERTIFICATION

                I certify that the foregoing is a complete statement of any agreement for payment to me for
         representation of the debtor(s) in this bankruptcy proceeding.

         _11/18/2018_________                                 _/s/ Mary A. Joyner_______________________
         Date                                                 Mary A. Joyner
                                                              Law Offices of Mary A. Joyner, PLLC
                                                              1503 S. US Hwy 301, Suite 115
                                                              Tampa, Florida 33619
                                                              813-328-2115 Fax: 813-756-6911
                                                              Mary@AttorneyJoyner.com
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Work & Son, Inc.                                                                               Case No.
                                                                                  Debtor(s)                Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Work & Son, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 18, 2018                                                   /s/ Mary A. Joyner
 Date                                                                Mary A. Joyner
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Work & Son, Inc.
                                                                     Law Offices of Mary A. Joyner, PLLC
                                                                     1503 S. US Hwy. 301
                                                                     Suite 115
                                                                     Tampa, FL 33619
                                                                     813-328-2115 Fax:813-756-6911
                                                                     Mary@AttorneyJoyner.com




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